                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN

THE DRAGONWOOD
CONSERVANCY INC., et. al,
                                                 Plaintiffs,           Case No. 16-cv-534
                      v.
                                                                       MINUTE SHEET
PAUL FELICIAN, et. al,
                                                 Defendants.



Hon. Nancy Joseph, presiding.                          Deputy Clerk: Dionna Satterwhite
Type of Proceeding: VIDEO MOTION HEARING RE ECF No. 98
Date: August 4, 2020 at 10:30 AM                       Court Reporter: Zoom
Time Commenced: 10:30 AM                               Time Concluded: 11:07 AM

Appearances:            Plaintiffs:      Mark P. Murphy
                        Defendants:      Jenny Yuan, Heather Hecimovich Hough

Comments:
ATTORNEY YUAN: Provides background regarding case history, discovery, and depositions.
Believes defendants’ pending daubert motion affects the current schedule. Defendants are still
conducting depositions and intend to conduct inspection of property. Argument given regarding motion
to stay deadlines and motion to adjourn jury trial.

COURT: Requests clarification from Attorney Yuan regarding outstanding discovery, potential
summary judgment motion, and reason for necessity of additional time.

ATTORNEY YUAN: Additional statement made in response to the court’s inquiry.

ATTORNEY MURPHY: Provides background regarding case history and discovery. Objects to
adjournment of jury trial, argument given. Plaintiffs’ intend to file a daubert motion as well.

Additional argument given by Attorney Yuan and Attorney Murphy.

COURT: The Court GRANTS the motion to stay and motion to adjourn (ECF No. 98). Orders the parties
to confer and stipulate to dates that accommodate all parties’ interests. The Court advises the parties that
this will be the final amendment of the schedule. The parties to stipulate to new dates and submit a joint
proposed schedule no later than August 7, 2020. The Court directs the parties to propose a date in
November, 2020 for jury trial.

Final Pretrial scheduled for August 24, 2020 and Jury Trial schedule for September 28, 2020 are
REMOVED from the court’s calendar at this time.



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